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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISON

ELIZABETH NELSON and ALBERT THROWER, Case No. 2:23-cv-11597
                                     Hon. Brandy R. McMillion
     Plaintiffs,                     Mag. Judge Curtis Ivy, Jr.
-v-

ROBERT SCOTT (JOHN DOE PROPERTY
MAINTENANCE DIVISION SUPERVISOR),
SERVICE TOWING, INC., ABLE TOWING, LLC,
BRUCE HERTZ,
SECRETARY, SANDRA A. HERTZ, REGISTERED AGENT,
RANDY HERTZ, DENNIS HERTZ,
1 JOHN DOE CITY OF WARREN PROPERTY
MAINTENANCE DIVISION EMPLOYEES,
JAMES CUMMINS, BUILDING DEPARTMENT
DIRECTOR, CITY OF WARREN ZONING DEPT.
EMPLOYEES, CURTIS GAUSS #22, FRANK
BADALAMENTE, MARY MICHAELS,
BRIAN KIJEWSKI, MARILYN TREMBATH,
2 JOHN DOES, 4 JOHN DOE WARREN POLICE
DEPARTMENT POLICEMEN, CITY OF WARREN,
WARREN POLICE COMMISSIONER WILLIAM
DWYER, CAPTAIN WILLIAM REICHLING,
MAYOR JAMES FOUTS AND
KIMBERLY ELIZABETH BRANSON,

      Defendants.
____________________________________________________________________________/

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                                             Defendants
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__________________________________________________________________/

                SERVICE TOWING, INC. DEFENDANTS
             MOTION FOR DISMISSAL UNDER RULE 12(b)(6)


      NOW COME Defendants SERVICE TOWING, INC., ABLE TOWING,

LLC, DENNIS HERTZ, BRUCE HERTZ, SANDRA HERTZ, RANDY

SULLIVAN and EDWARD HERTZ (collectively herein the “Service Towing

Defendants” unless identified otherwise), by and through undersigned counsel,

pursuant to Fed.R.Civ.P. 12(b)(6), and in support of their Motion For Dismissal

Under Rule 12(b)(6), hereby state as follows:

      The Service Towing Defendants move this Court to dismiss Claims I and II

of Plaintiffs 3rd Amended Complaint (ECF No. 55, PageID.600) with prejudice

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under Fed. R. Civ. P. 12(b)(6) as Plaintiffs have failed to state claims upon which

relief may be granted and for the other reasons set forth in the accompanying Brief

In Support thereof. In further support thereof, the Service Towing Defendants

incorporate by reference the attached Brief In Support.

      WHEREFORE, for the foregoing reasons, as further established in their

Brief In Support, the Service Towing, Inc. Defendants respectfully requests this

Court: (a) grant their Motion For Dismissal of Plaintiffs’ Third Amended

Complaint—ECF No. 55; (b) dismiss with prejudice Claim Numbers 1 and 2 on

the basis of the 4th, 5th and 14th Amendments pursuant to Fed. R. Civ.P. 12(b)(6);

(c) dismiss Defendants Sandra Hertz, Edward Hertz, Bruce Hertz, Dennis Hertz

and Randy Sullivan and Able Towing, LLC from this action with prejudice; (d)

award the Service Towing Defendants their costs and expenses, including attorney

fees, incurred in filing this Motion, and (e) grant such other and further relief as the

Court deems just and proper.

                                               Respectfully submitted,

                                               _/s/ ThomasStidham______________
                                               Thomas H. Stidham (P56504)
                                               Jennifer Mead (P57106)
                                               Co-Counsel for Service Towing, Inc.
                                               Defendants



Dated: June 12, 2024
                                           3
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                    LR 7.1 STATEMENT OF CONFERRAL

      In accordance with E.D. Mich. LR 7.1(a), there was a telephonic conference

between counsel for the Service Towing, Inc. Defendants and Plaintiffs Elizabeth

Nelson and Albert Thrower on June 12, 2024, in which counsel for the STI

Defendants explained the nature of the motion and its legal basis and requested but

did not obtain concurrence in the relief sought herein.

                                              Respectfully submitted,

                                              _/s/ ThomasStidham______________
                                              Thomas H. Stidham (P56504)
                                              Jennifer Mead (P57106)
                                              Co-Counsel for Service Towing, Inc.
                                              Defendants
Dated: June 12, 2024




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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISON

ELIZABETH NELSON and ALBERT THROWER, Case No. 2:23-cv-11597
                                     Hon. Brandy R. McMillion
     Plaintiffs,                     Mag. Judge Curtis Ivy, Jr.
-v-

ROBERT SCOTT (JOHN DOE PROPERTY
MAINTENANCE DIVISION SUPERVISOR),
SERVICE TOWING, INC., ABLE TOWING, LLC,
BRUCE HERTZ,
SECRETARY, SANDRA A. HERTZ, REGISTERED AGENT,
RANDY HERTZ, DENNIS HERTZ,
1 JOHN DOE CITY OF WARREN PROPERTY
MAINTENANCE DIVISION EMPLOYEES,
JAMES CUMMINS, BUILDING DEPARTMENT
DIRECTOR, CITY OF WARREN ZONING DEPT.
EMPLOYEES, CURTIS GAUSS #22, FRANK
BADALAMENTE, MARY MICHAELS,
BRIAN KIJEWSKI, MARILYN TREMBATH,
2 JOHN DOES, 4 JOHN DOE WARREN POLICE
DEPARTMENT POLICEMEN, CITY OF WARREN,
WARREN POLICE COMMISSIONER WILLIAM
DWYER, CAPTAIN WILLIAM REICHLING,
MAYOR JAMES FOUTS AND
KIMBERLY ELIZABETH BRANSON,

      Defendants.
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__________________________________________________________________/

                SERVICE TOWING, INC. DEFENDANTS
            BRIEF IN SUPPORT OF MOTION FOR DISMISSAL
                        UNDER RULE 12(b)(6)


      NOW COME Defendants SERVICE TOWING, INC., ABLE TOWING,

LLC, DENNIS HERTZ, BRUCE HERTZ, SANDRA HERTZ, RANDY

SULLIVAN and EDWARD HERTZ (collectively herein the “Service Towing

Defendants” unless identified otherwise), by and through undersigned counsel,

pursuant to Fed.R.Civ.P. 12(b)(6), and in support of their Motion For Dismissal,

hereby state as follows:




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                    STATEMENT OF ISSUES PRESENTED

I. Whether the Plaintiffs fail to a state a claim where they fail to allege with any

degree of specificity which of the named STI Defendants were personally involved

or responsible for alleged violations of Plaintiffs Federal rights?

Defendants Answer:        Yes.
Plaintiffs Answer:        No.
II. Whether the Plaintiffs have stated valid claims for unspecified violations of the

5th Amendment?

Defendants Answer:         No.

III. Whether Plaintiffs’ Claims Numbers 1 and 2 fail to state claims that the STI

Defendants violated Plaintiffs 4th Amendment rights in towing the vehicles?

Defendants Answer:        Yes.

IV. Whether Plaintiffs fail to state valid claims for alleged violations of the 14th

Amendment?

Defendants Answer:        Yes.

V. Whether Plaintiffs state law allegations or claims are frivolous and fail to state

claims upon which relief may be granted?

Defendants Answer:        Yes.
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VI. Whether the Service Towing Defendants are state actors for purposes of

Plaintiffs’ constitutional claims?

Plaintiffs Answer:        No.
Defendants Answer:        Yes.




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        CONTROLLING OR MOST APPROPRIATE AUTHORITY


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Bell Atlantic Corp v Twombly, 550 U.S. 544, 555, 127 S.Ct. 1955,
1964-65 (2007).

Brite Financial Services, LLC v Bobby’s Towing Service, LLC,
461 F.Supp.3d 549, 558 (E.D. Mich. 2020)

MCL 257.252a, MCL 257.252d and MCL 257.252f
Flagg v City of Detroit, 715 F.3d 165, 174 (6th Cir. 2013).


Lugar v Edmondson Oil Co, 457 US 922, 937, 102 SCt 2d 744, 73 LEd2d 482
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Moldowan v City of Warren, 578 F3d 351, 399 (6th Cir. 2009),
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Jack-Bey v Michigan Dep’t of Corr., 2014 WL 1255910, at *5…………………5-6
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Leisure v Hogan, 21 F.App’x 277, 278 (6th Cir. 2001)………………………….3,5

Lugar v Edmondson Oil Co, 457 US 922, 937, 102 SCt 2d 744, 73 LEd2d 482…15
(1983).
Mathews v Eldridge, 424 US 319, 333 (1976)……………………………………12
Moldowan v City of Warren, 578 F3d 351, 399 (6th Cir. 2009)………………16-17
Morrissey v Brewer, 408 US 471, 481 (1972)…………………………………….12

Nugent v Spectrum Juv. Just Servs, 72 F4th 135, 139-140 (6th Cir. 2023)……….17

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            I. INTRODUCTION AND FACTUAL BACKGROUND

      Given a third bite at the proverbial pleading apple, Plaintiffs’ 3rd Amended

Complaint repeats and suffers from the same deficiencies that led to the Magistrate

Judge’s well-reasoned Report And Recommendation On Defendant’s Motion To

Dismiss And For Summary Judgment (ECF No. 35), ECF No. 46, PageID.526.

Once again, Plaintiffs nakedly allege that in towing two vehicles on July 7, 2021,

the Defendants violated their 4th, 5th and 14th Amendment rights.

      Factually, some matters have been modified in the 3rd Amended Complaint.

It deletes the prior allegations within the 2nd Amended Complaint that on July 7,

2021, Branson called Defendant Scott, or Mayor Fouts, Does acting as an

informant per agreement and told (Ds’) Scott, Gauss, Cummins, Badalamente,

Kijewski, Does that Thrower arrived at 7568 Hudson Ave. ECF No.29, PageID.83

at ⁋22. Importantly, it also deletes the Plaintiffs explanation of how the Warren

Police Department were contacted and “raided” the 7568 Hudson address:

      “23) (D) Scott, Gauss, Cummins, Badalamente, Kijewski, Does contacted
      the Warren Police Van Dyke substation and raided (P) Thrower address
      7568 Hudson Ave Mi and towed (P) Thrower 2011 Silverado with (D)
      Service Towing Inc., Able Towing LLC Hertz Brothers defendants in the
      morning.” ECF No.29, PageID.83 at ⁋23.

      The 3rd Amended Complaint also deletes an important fact established in

the 2nd Amended Complaint at ⁋26: that on 7/7/21, Defendant Scott wrote a ticket


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for 301.3 Unsafe Structure for Human Habitation relative to 7568 Hudson, which

forms an important portion of the reason the authorities were at the property. ⁋26.

Perhaps even more puzzling, in the Third Amended Complaint, quotations

attributed to Mr. Scott have even slightly changed! Nevertheless, Plaintiffs do not

plead cognizable claims under 42 USC §1983 for alleged violations of the 4th, 5th

and 14th Amendments arising from the towing of two vehicles and Plaintiffs do

not even attempt to plead the elements or facts in support of their state law claims.

Accordingly, all of their claims ought to be dismissed.

                           II. STANDARD OF REVIEW

      A court considering a motion to dismiss under Fed. R. Civ.P. 12(b)(6)

accepts all well-pled allegations as true, but need not accept as true any “legal

conclusions or unwarranted factual inferences, and conclusory allegations or legal

conclusions masquerading as factual allegations.” Terry v Tyson Farms, Inc, 604

F.3d 272, 276 (6th Cir. 2010). “[T]hreadbare recitals of the elements of a cause of

action, supported by mere conclusory statements, do not suffice.” Erickson v

Pardus, 551 U.S. 89, 94 (2007)(citing Bell Atlantic Corp v Twombly, 550 U.S. at

555). A court may also consider matters of public record without conversion to

summary judgment. See Amini v Oberlin Coll., 259 F3d 493, 502-503 (6th Cir.

2001). A court may take judicial notice of “other court proceedings” without



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converting a motion to dismiss into a motion for summary judgment. Buck v

Thomas M. Cooley Law Sch., 597 F.3d 812, 816 (6th Cir. 2010).

      To survive a motion to dismiss, the complaint must be plausible on its face

and “raise the right to relief above the speculative level.” Bell Atlantic Corp v

Twombly, 550 U.S. 544, 555, 127 S.Ct. 1955, 1964-65 (2007). The allegations

must include sufficient factual content to allow the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged. Ashcroft v Iqbal,

556 U.S. 662, 678, 129 S.Ct. 1937, 1949 (2009).

                                 III. ARGUMENT

A.    PLAINTIFFS’ 3RD AMENDED COMPLAINT (ECF NO. 55)
      FAILS TO STATE A CLAIM UPON WHICH RELIEF MAY BE
      GRANTED AS TO THE INDIVIDUAL SERVICE TOWING
      DEFENDANTS AND FAILS TO ALLEGE WITH ANY DEGREE
      OF SPECIFICITY WHICH OF THE NAMED DEFENDANTS
      WERE PERSONALLY INVOLVED OR RESPONSIBLE FOR
      ALLEGED VIOLATIONS OF PLAINTIFFS’ FEDERAL RIGHTS.


      It is elementary that Plaintiffs are the “master[s] of [their] complaint.”

Roddy v Grand Trunk W. R.R., Inc., 395 F.3d 318, 322 (6th Cir. 2005). “Although

a pro se complaint must be held to a less stringent standard than that prepared by

an attorney, the courts have not been willing to abrogate the basic pleading

essentials in pro se suits.” Leisure v Hogan, 21 F.App’x 277, 278 (6th Cir. 2001)

(citing Haines v Kerner, 404 U.S. 519, 520 (1972). In the Magistrate Judge’s

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Report And Recommendation ECF No. 46, PageID.545, the Magistrate Judge

dismissed count three (of the plaintiffs’ 2nd Amended Complaint (ECF No. 29))

without prejudice and permitted Plaintiffs “to file an amended complaint in which

they expressly allege personal involvement by the individuals named.” ECF No.

46, PageID.545.

      On May 29, 2024, Plaintiffs filed their 3rd Amended Complaint Per Court

Order, ECF No. 55, Page ID.600, in which as to the individual Defendants, they

simply ignore the Court’s admonitions and repeat the very same folly as contained

within their 2nd Amended Complaint.

      With respect to the individual Service Towing Defendants, Bruce Hertz,

Dennis Hertz, Sandra Hertz and Randy Sullivan, there are no specific allegations

of which of these Defendants were personally involved in or responsible for the

alleged violations of plaintiffs’ rights. There is no specificity at all as Plaintiffs do

not explain what specific acts did each commit? What did they do? Instead, as one

example, in ⁋14, plaintiffs state various general principles of law or quotations

from various opinions concerning when one acts in concert or conspiracy with

state actors which purports to define when a private party becomes a “willful

participant” with the state to deprive others of constitutional rights. ECF No. 55,

PageID.602. Plaintiffs then allege “(D) STI and Hertz Bros., Sandra Hertz, Randy




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Sullivan fit this definition for liability of private parties acting in concert with (D)

Scott.” Id. This is insufficient as a matter of law.

      Yet ⁋14 and the remainder of the amended complaint fails to state sufficient

factual allegations as to the facts surrounding the towing of the two vehicles, who

did what and specifically how were plaintiffs constitutional rights allegedly

violated. “[M]ore than bare assertions of legal conclusions is ordinarily required to

satisfy federal notice pleading requirements.” Leisure v Hogan, 21 F.App’x 277,

278 (6th Cir. 2001) (quoting Wells, 891 F.2d at 594). “A complaint must contain

either direct or inferential allegations respecting all the material elements to sustain

a recovery under some viable legal theory.” Id. (citing Scheid, 859 F.2d at 437).

      Moreover, as the Magistrate Judge noted in its Report And

Recommendation, ECF No. 46, PageID.543, “[w]hen suing an individual actor…

for constitutional violations under § 1983, a plaintiff must demonstrate that the

actor ‘directly participated’ in the alleged misconduct, at least by encouraging,

implicitly authorizing, approving or knowingly acquiescing in the misconduct, if

not carrying it out himself.” Flagg v City of Detroit, 715 F.3d 165, 174 (6th Cir.

2013). “[I]t is particularly important in such circumstances that the complaint

make clear exactly who is alleged to have done what to whom, to provide each

individual with fair notice as to the basis of the claims against him or her, as

distinguished from collective allegations against the state.” Jack-Bey v Michigan


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Dep’t of Corr., 2014 WL 1255910, at *5 (W.D. Mich. Mar. 26, 2014)(quoting

Robbins v Oaklahoma, 519 F.3d 1242, 1250 (10th Cir. 2008) (emphasis omitted)).

      The STI Defendants submit that a fair reading of the 3rd Amended

Complaint once again repeats their initial folly as it fails to allege with specificity

how each STI Defendant violated the Constitution or another federal law. There is

no personal involvement at all relative to Sandra Hertz or Edward Hertz, who

plaintiffs simply attempt to “drop” as a defendant without an order of the Court.

      According to the allegations, at best, Defendant Scott called STI, Dennis

Hertz or Bruce Hertz or Sullivan, and plaintiff Thrower heard or saw STI, Dennis

Hertz or Bruce Hertz, and/or employee (D) Sullivan towing his 2011 Silverado &

Honda directed by Scott. ⁋18, ECF 55, PageID.603. Plaintiff Thrower claims he

heard either Dennis Hertz or Bruce Hertz or employee Sullivan say “I can’t tow

Honda without damaging it because it’s at an angle.” ECF 55, PageID.603 at ⁋22.

Next, plaintiff Thrower alleges that on July 8, 2021, he went to the STI office to

retrieve his Silverado and in ⁋28, a “Hertz Brother or employee Sullivan stalled

him per earlier agreement with (D) Scott-for approximately 30 minutes pretending

like (D) could not find (PT) Silverado.” ECF 55, PageID.604 at ⁋28. According to

plaintiff Thrower, he was restrained by Scott “while (Ds’) Hertz Bros &/or

Sullivan watched”. ECF 55, PageID.604 at ⁋29.




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      The STI Defendants submit that as to Claim No. One, plaintiffs have failed

to state a claim upon which relief may be granted as the amended complaint

contains no facts in support of its conclusory allegations that Defendants violated

his constitutional rights. What did Sandra Hertz, Bruce Hertz, Dennis Hertz,

Edward Hertz and Randy Sullivan do to violate any right as alleged in Claim No.

1? Likewise, there are no specific and separate allegations against Defendant Able

Towing, LLC in the towing of the vehicles. We do not know these answers as the

amended complaint does not clarify exactly who is alleged to have done what to

whom. Nor does it provide each Defendant with fair notice of the basis of the

claims against it, him or her.

      Likewise, as to Claim No. Two, plaintiffs have similarly failed to provide

any specific facts about the so-called agreement or conspiracy between Mr. Scott

and either Bruce Hertz or Dennis Hertz or Sandra Hertz or Randy Sullivan.

Defendants submit it is not enough to simply announce that there was an

agreement or conspiracy between Scott and the individual STI Defendants to

detain or stall plaintiff Thrower. Yet even assuming arguendo the existence of

such an agreement, there is no constitutional violation in “stalling” someone so that

the police may ultimately arrive to arrest him on misdemeanor warrants. And

merely watching or observing the situation unfold does not create liability where

they did nothing more than play a passive role in the alleged violations.


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      Defendants further submit to the Court it is not enough simply to announce

that the Defendants entered on to the 7568 Hudson property and towed 2 operable

vehicles violating the 4th, 5th and 14th Amendments. Even assuming the truth of

the above allegations, entering onto property at the direction of another and towing

a vehicle does not constitute a constitutional violation nor does one merely making

an alleged statement that a certain vehicle cannot be towed without damaging it

because it is at an angle. For all of the foregoing reasons, Plaintiffs have failed to

state claims upon which relief may be granted.


      B.     PLAINTIFFS DO NOT STATE VALID CLAIMS FOR
             UNSPECIFIED VIOLATIONS OF THE FIFTH AMENDMENT.

      Plaintiffs’ claims for a violation of the Fifth Amendment is meritless, fails to

state a claim upon which relief may be granted and ought to be dismissed with

prejudice. In their 3rd Amended Complaint, Plaintiffs merely announce alleged

violations of the 5th Amendment but there are no facts alleged in support of an

alleged violation. ECF No. 55, PageID.601; ECF No. 55, PageID.605. Even

accepting the scant factual allegations as true, here, there was no taking without

just compensation under the Fifth Amendment. In Brite Financial Services, LLC v

Bobby’s Towing Service, LLC, 461 F.Supp.3d 549, 558 (E.D. Mich. 2020), the

district court noted that construction of the public use requirement does not extend

the scope of the 5th Amendment to the towing and storage of vehicles pursuant to


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Michigan’s towing laws. The law is well established that Section 1983 is the

exclusive remedy for alleged constitutional violations. Thomas v Shipka, 848 F2d

496, 499 (6th Cir. 1987), vacated on other grounds, 488 US 1036 (1989) (holding

that Section 1983 is the exclusive remedy for alleged violations of a plaintiff’s

constitutional rights). Nor was the towing of the vehicles for “public use” and as

such, there could be no Fifth Amendment violation. Lastly, the STI Defendants

are not state actors and therefore, are not entities or individuals subject to an action

under Section 1983. Thus, the foregoing reasons, Plaintiffs’ claims for unspecified

violations of the Fifth Amendment in towing plaintiffs’ vehicles (Claim I) and

apparently “stalling” Thrower on July 8, 2021 (Claim II) do not state claims for a

violation of the Fifth Amendment upon which relief may be granted and the STI

Defendants’ Motion ought to be granted on this basis.

      C.     CLAIMS ONE AND TWO FAIL TO STATE CLAIMS
             THAT THE STI DEFENDANTS VIOLATED PLAINTIFFS’
             4TH AMENDMENT RIGHTS IN TOWING VEHICLES.

      In their 3rd Amended Complaint, Plaintiffs allege the STI Defendants, in

tandem and in a conspiracy with Defendant Scott, violated their 4th Amendment

rights when they entered on to the 7568 Hudson property without a search warrant,

towing the two vehicles. ECF No. 55, PageID.605 (Claim No. One). Yet plaintiffs

have clearly failed to state a claim upon which relief may be granted for several

reasons. First, their legal conclusions masquerading as facts concerning curtilage

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at pages 3-4 contradict other allegations, namely, those in which they admit that

the “2008 Honda Civic was parked on concrete drive behind 7568 Hudson.” ECF

No. 55, PageID.603 at ⁋21. This is significant as when both a vehicle and a police

officer were both on a driveway, “depending on the driveway’s particularities, has

been viewed as outside the curtilage.” See Habich v Wayne County, MI, No. 22-

1517, 6th Cir. April 12, 2023, citing U.S. v Coleman, 923 F.3d 450, 455-56 (6th

Cir. 2019); U.S. v Galaviz, 645 F.3d 347, 356 (6th Cir. 2011).

      Next, City of Warren court records and a citation No. Y028064, issued on

7/7/21, establish that contrary to plaintiffs contention, the vehicle(s) were parked

on the grass. Exhibit A—Court Records. Third, the Order To Clean Up Property

dated July 7, 2021 and issued in three separate cases, orders 7568 Hudson to be

cleaned and cleared of all debris, inoperable vehicles and other items and expressly

authorizes the City of Warren to enter the Property and conduct any work

necessary to comply with the Order. Id. Notably, one of the Cases in which the

Order To Clean Up Property dated July 7, 2021 also was entered was Y025638,

wherein the City of Warren Administrative Hearings Bureau had previously

entered its Default Decision And Order against Thrower on March 4, 2020. Id.

That Decision/Order provides “that if respondent fails to correct the violation(s)

within 30 days, the City may correct the violation and request enforcement costs.”

Id. Once again, this Order furnishes the City with additional authority to correct


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the violation and lawfully be upon or at 7568 Hudson to remedy the violations.

Additionally, on July 7, 2021, court records reflect there was an existing

Complaint-Misdemeanor and an existing Warrant for the arrest of Thrower,

although the complaint establishes that he was not arrested until July 8, 2021. Ex.

A. Clearly, plaintiffs simply ignore that each of the court Orders above establish

that any officer at 7568 Hudson on July 7, 2021 is lawfully positioned in a place

from which the two vehicles can be plainly viewed and each officer has a lawful

right of access to the vehicles, constituting a plain view exception to the warrant

requirement. See U.S. v Bishop, 338 F.3d 623, 626 (6th Cir. 2003).

      Moreover, plaintiffs once again ignore that another source of authority for

the towing of the vehicles by the City of Warren on July 7, 2021 is grounded in

state law, specifically in MCL 257.252d(1). Subsection (1)(f) applies if removal is

necessary in the interest of public safety because of fire, flood, etc. or in case of an

emergency (such as the illegal use or occupation of 7568 Hudson such that one

must clear the entire scene to prevent injury to persons or property). Likewise,

subsection (1)(g) applies if the vehicle is hampering the use of private property by

the owner or individual in charge or is parked in a manner that impedes the

movement of another vehicle. Utilizing either source compels the conclusion that

the towing of the vehicles by both the STI Defendants and the City of Warren

Defendants were proper, lawful and cannot constitute a 4th Amendment violation.


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      Importantly, the Sixth Circuit has held that even a wrongful search or seizure

by a private party does not violate the Fourth Amendment. US v Morgan, 744 F2d

1215, 1218 (6th Cir. 1984). Once again, plaintiffs scant factual allegations are not

enough to raise a right to relief above the speculative level. Bell Atlantic Corp v

Twombly, 550 U.S. at 555. As such, Claim Nos. 1 and 2 should be dismissed to the

extent plaintiffs allege a violation of the 4th Amendment.


      D.     PLAINTIFFS FAIL TO STATE VALID CLAIMS FOR
             ALLEGED VIOLATIONS OF THE 14TH AMENDMENT.

      Plaintiffs in conclusory fashion allege that the STI Defendants violated their

14th Amendment rights in Claim Nos. 1 and 2. Although “[t]he fundamental

requirement of due process is the opportunity to be heard ‘at a meaningful time and

in a meaningful manner[,]’ “ Mathews v Eldridge, 424 US 319, 333 (1976)

(citation omitted), courts must look at the particular situation to determine what

level of due process is required. See Morrissey v Brewer, 408 US 471, 481 (1972)

(“due process is flexible and calls for such procedural protections as the particular

situation demands.”).

      Yet plaintiffs have failed to state a claim upon which relief may be granted

and their 14th Amendment claims cannot be sustained. Courts addressing similar

claims in this circuit have determined that as long as the State provides a process

by which an owner may regain possession, the impoundment of a vehicle does not


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violate due process. See Brite Financial Services, LLC v Bobby’s Towing Services,

LLC, 461 F.Supp.3d 549, 559 (E.D. Mich. 2020) (impounding a vehicle violates

due process only if the State fails to provide a process by which the owner can

regain possession). Yet Michigan’s statutory towing scheme provides an

established mechanism and legal process by which one may obtain their vehicles

and challenge both the propriety of the towing and/or reasonableness of the towing

and storage fees. MCL 257.252a, MCL 257.252d and MCL 257.252f (by filing

petition in the state district court). Moreover, in their amended complaint,

plaintiffs allege that each retrieved and/or redeemed each vehicle. ECF No.

55,PageID.605 at ⁋⁋ 35-36.

      There are simply no facts to support an undefined violation of the 14th

Amendment in Claim No. 2 by any STI Defendant other than a vague allegation

that the Hertz brothers or Mr. Sullivan “watched” plaintiff Thrower be arrested.

ECF No. 55,PageID.604 at ⁋29. Clearly, there are no violations of the 14th

Amendment by the STI Defendants and Plaintiffs have failed to state any claim

upon which relief may be granted.


      E.     PLAINTIFFS’ STATE LAW ALLEGATIONS/CLAIMS
             ARE FRIVOLOUS AND FAIL TO STATE CLAIMS UPON
             WHICH RELIEF MAY BE GRANTED.

      In their 3rd Amended Complaint, Plaintiffs claim they are seeking damages

for state law torts of assault and battery, kidnapping, trespassing, theft. ECF
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No.55, PageID.600. In ⁋1 they add “abuse of process” to the list. In ⁋3, plaintiffs

state they bring “state law claims pursuant to the Court’s supplemental jurisdiction

of trespass, theft, assault and battery, kidnapping, false imprisonment, abuse of

process.” ECF No.55,PageID.601. Claim Nos. 1 and 2 are devoid of any factual

allegations to support these claims and only Claim No. 2 even references an

“assault and battery” but not as a request for relief. In their prayer entitled

“Relief”, although Plaintiffs request $100 Million Dollars in compensatory and

punitive damages, no specific relief is requested for state law claims. ECF

No.55,PageID.605.

      In Magistrate Judge Ivy’s Report And Recommendation On Defendant’s

(Warren Defendants) Motion To Dismiss And For Summary Judgment (ECF No.

35), Mag. Judge Ivy recommends the Court decline supplemental jurisdiction over

Plaintiffs state law claims. ECF No. 46, PageID.548. Thus, it is not clear from the

amended complaint whether Plaintiffs are seeking relief upon the mentioned state

law claims or since they did not request any specific relief thereon in Claim Nos. 1

and 2 or in the Relief section of the complaint, whether they have abandoned their

state law claims.

      Although Plaintiffs leave it to all of the Defendants and the Court to unravel

their claims, it is undisputed that such pleading fails to state any state law claims

and the Court should both decline to exercise supplemental jurisdiction and dismiss


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the state law allegations/claims for trespass, theft, assault and battery, kidnapping,

false imprisonment and abuse of process. Plaintiffs do not even attempt to plead

the elements of these claims or furnish any factual allegations to establish any state

law claim (and explain who did what to whom? How and when?). Accordingly,

Plaintiffs have failed to state any claims upon which relief may be granted as to

their so-called state law allegations/claims and these ought to be dismissed.


F.    NONE OF THE SERVICE TOWING, INC. DEFENDANTS ARE
      “STATE ACTORS” AND CANNOT BE HELD LIABLE FOR
      ALLEGED, UNSUPPORTED CONSTITUTIONAL VIOLATIONS.

      In Plaintiffs’ 3rd Amended Complaint—ECF No. 55, Plaintiffs allege a

series of constitutional violations of the 4th Amendment, 5th Amendment and 14th

Amendment against Defendants involving the towing of two vehicles on July 7,

2021. It is elementary that a private business does not act under color of state law,

and thus is not a “state actor,” unless its conduct is “fairly attributable to the state.”

Lugar v Edmondson Oil Co, 457 US 922, 937, 102 SCt 2d 744, 73 LEd2d 482

(1983). “A plaintiff may not proceed under Section 1983 against a private party

‘no matter how discriminatory or wrongful’ the party’s conduct. See Tahfs v

Proctor, 316 F3d 584, 590 (6th Cir. 2003).

      The District Court’s review of authority involving whether towing

companies are state actors in this circuit in the case of Olivia Robertson, et al v

Breakthrough Towing, LLC, USD.C. E.D. Mich. Case No. 2:19-cv-10266-MAG-
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EAS; ECF No. 148, PageID.2831-2867, at PageID.2844-2845 is instructive, noting

that “[t]he fact that towing occurs does not make every entity that has some

connection to the tow a representative of the state. In fact, case law in this circuit

indicates that towing companies are generally not state actors under the nexus and

state compulsion theories—both at the summary judgment stage7 and on the face

of the pleadings8—even when those companies tow vehicles pursuant to

government contracts or at the express request of the police.” Indeed, the District

Court cited Carmen v City of Detroit, 2018 WL 1326295, at *7-8 (finding that two

private towing companies called by Detroit police officers to impound certain

vehicles were not state actors liable under Section 1983, explaining that plaintiffs

had failed to establish “pervasive entwinement” considering factors including (i)

the companies were only “two of about twenty companies with a towing contract

with Detroit,” and (ii) “the private towing companies did nothing more than fulfill

their contractual obligations”) in footnote 7 of the opinion in support of the

conclusion that towing companies are generally not considered state actors within

the Sixth Circuit.

      In Moldowan v City of Warren, 578 F3d 351, 399 (6th Cir. 2009), the Sixth

Circuit stated that it recognized three tests for determining whether private conduct

is fairly attributable to the state: the public function test, the state compulsion test,

and the nexus test.


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      The public function test “requires that the private entity exercise
      powers which are traditionally exclusively reserved to the state…”
      The typical examples are running elections or eminent domain. The
      state compulsion test requires proof that the state significantly
      encouraged or somehow coerced the private party, either overtly or
      covertly, to take a particular action so that the choice is really that
      of the state. Finally, the nexus test requires a sufficiently close
      relationship ( i.e. through state regulation or contract) between the
      state and the private actor so that the action may be attributed to
      the state.
      Moldowan v City of Warren, Id. at 399.

      The Sixth Circuit in Nugent v Spectrum Juv. Just Servs, 72 F4th 135, 139-

140 (6th Cir. 2023) recognized that several tests have been employed to determine

when a private entity may qualify as a state actor, including the entwinement test.

This test requires Plaintiffs to show that the private entity is “entwined with

governmental policies” or that the government is “entwined in [the private entity’s]

management or control. Brentwood Acad v Tenn Secondary School Athletic Ass’n,

531 US 288, 294, 121 SCt 924, 148 LEd2d 807 (2001).

      On these facts and employing any of the four tests, Plaintiffs cannot

establish that any of the Service Towing Defendants conduct is fairly attributable

to the state. Indeed, the public function test fails as the private entities are not

exercising powers traditionally reserved to the state such as running an election or

eminent domain. Moreover, the public function test has been narrowly interpreted

and Plaintiffs bear the burden of establishing a historical showing, which cannot be

done on these facts. Next, the state compulsion test also is inapplicable, as there is
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no proof that the towing companies were coerced by the state to take any action.

Likewise, the nexus test requirement of a sufficiently close relationship so that the

towing companies conduct may be attributed to the state is not borne out by the

proofs. “[M]ere cooperation simply does not rise to the level of merger required

for a finding of state action.” Lansing v City of Memphis, 202 F3d 821, 831-832

(6th Cir. 2000). Therefore, Plaintiffs have failed to state a claim upon which relief

may be granted for towing of the vehicles in violation of the 4th, 5th and 14th

Amendments.

                                 IV. CONCLUSION

      For the foregoing reasons, the Service Towing, Inc. Defendants respectfully

request the Court: (a) grant their Motion To Dismiss Plaintiffs’ Third Amended

Complaint—ECF No. 55; (b) dismiss with prejudice Claim Numbers 1 and 2 on

the basis of the 4th, 5th and 14th Amendments pursuant to Fed. R. Civ.P. 12(b)(6);

(c) dismiss Defendants Sandra Hertz, Edward Hertz, Bruce Hertz, Dennis Hertz

and Randy Sullivan and Able Towing, LLC from this action with prejudice; (d)

award the Service Towing Defendants their costs and expenses, including attorney

fees, incurred in filing this Motion, and (e) grant such other and further relief as the

Court deems just and proper.




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                                          Respectfully submitted,

                                          _/s/ ThomasStidham______________
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                                          Defendants



Dated: June 12, 2024




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